
ON MOTION TO WITHDRAW AS COUNSEL
PER CURIAM.
On September 28, 1989, we sua sponte issued an order withdrawing our August 30, 1989, opinion in this cause. The substituted opinion follows.
We grant the public defender’s Anders motion to withdraw. We agree that the designated judicial acts are wholly frivolous and without merit. The public defender has complied with the requirements set forth in Anders and recently addressed by the supreme court in Forrester. Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967); Order of the First District Court of Appeal Regarding Brief Filed in Forrester v. State, 556 So.2d 1114 (Fla.1990). We affirm the conviction and sentence and grant the public defender’s motion to withdraw.
LETTS, WALDEN and POLEN, JJ., concur.
